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             8     INC., and SCOOBUR, LLC
             9
                                                 UNITED STATES BANKRUPTCY COURT
           10
                                                  CENTRAL DISTRICT OF CALIFORNIA
           11
                                                         LOS ANGELES DIVISION
           12
                                                                       CASE NO. 2:19-bk-14989-WB
           13      In re:                                              Jointly Administered:
                                                                       2:19-bk-14991-WB; 2:19-bk-14997-WB
           14      SCOOBEEZ, et al.1
                                                                       CHAPTER 11
           15               Debtors and Debtors in Possession.
                                                                       ADVERSARY NO. 2:19-ap-01456-WB
           16      SCOOBEEZ, INC.,
                                                                       DEBTORS’ NOTICE OF MOTION AND
           17                                     Plaintiff,           EMERGENCY MOTION FOR
                   v.                                                  TEMPORARY RESTRAINING ORDER
           18                                                          AND PRELIMINARY INJUNCTION TO
                   AMAZON LOGISTICS, INC.,                             PREVENT VIOLATION OF THE
           19                                                          AUTOMATIC STAY; DECLARATIONS
                                                  Defendant.           OF BRIAN WEISS, GEORGE
           20                                                          VOSKANIAN, SCOTT SHEIKH, AND
                                                                       ASHLEY MCDOW IN SUPPORT
           21                                                          THEROF

           22                                                          Hearing:
                                                                       Date: October 28, 2019
           23                                                          Time: 2:00 p.m.
                                                                       Place: Courtroom 1375
           24                                                                 U.S. Bankruptcy Court
                                                                              255 East Temple Street
           25                                                                 Los Angeles, CA 90012

           26

           27               1
                            The Debtors and the last four digits of their respective federal taxpayer identification
                   numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
           28      (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.


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             1            TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY
             2     JUDGE, AND ALL INTERESTED PARTIES:
             3            PLEASE TAKE NOTICE that on October 28, 2019, Plaintiff Scoobeez, Scoobeez
             4     Global, Inc., and Scoobur, LLC, the debtors and debtors in possession (collectively “Debtors”) in
             5     the above-captioned chapter 11 bankruptcy cases (collectively the “Chapter 11 Cases”) will
             6     move and hereby move (the “Emergency Motion”), pursuant to sections 105(a), and 362 of title
             7     11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rule 7065
             8     of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules of
             9     Bankruptcy Procedure 7065-1 and 9075-1 (the “Local Rules”), for entry of a temporary
           10      restraining order and a preliminary injunction prohibiting Amazon Logistics, Inc. (“Amazon”)
           11      from taking actions in violation of the automatic stay.
           12             PLEASE TAKE FURTHER NOTICE that by this Emergency Motion, the Debtors
           13      seek injunctive relief: (1) prohibiting Amazon from unilaterally terminating any of its existing
           14      contracts with the Debtors (collectively, the “Amazon Contracts”); (2) restoring and maintaining
           15      the Debtors with the number of routes assigned to the Debtors prior to Amazon’s notification of
           16      its intent to terminate the Amazon Contracts in a manner that is consistent with historical
           17      business practices between Amazon and the Debtors ; and (3) prohibiting Amazon from
           18      contacting employees of the Debtors, whether directly or indirectly, other than as necessary for
           19      and historically done in the ordinary course of the conduct of the Amazon Contracts.
           20             PLEASE TAKE FURTHER NOTICE that in support of the Emergency Motion, the
           21      Debtor relies upon the Declarations of Brian Weiss, George Voskanian, Scott Sheikh, and
           22      Ashley McDow appended below, the attached Memorandum of Points and Authorities, all
           23      pleadings and papers on file with this Court, and such other evidence, oral or documentary, as
           24      may be presented to this Court at or prior to the hearing on the Emergency Motion.
           25             PLEASE TAKE FURTHER NOTICE that copies of the Emergency Motion and
           26      documents filed in support thereof are available from the Court or upon request to the
           27      undersigned counsel.
           28
                                                                     MOTION FOR TEMPORARY RESTRAINING ORDER
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             1            WHEREFORE, for all the foregoing reasons and the reasons stated in the memorandum
             2     of points and authorities, and such additional reasons as may be advanced at or prior to the
             3     hearing on the Emergency Motion, the Debtors respectfully request that this Court grant the
             4     relief sought in this Emergency Motion and such other relief as is just and proper under the
             5     circumstances.
             6
                   DATED: October 25, 2019                     FOLEY & LARDNER LLP
             7

             8

             9

           10                                                  Ashley M. McDow

           11                                                  Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
                                                               GLOBAL, INC., and SCOOBUR, LLC
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             1                       MEMORANDUM OF POINTS AND AUTHORITIES
             2                                        I.      INTRODUCTION
             3            Amazon, the Debtors’ only customer and source of revenue, has unambiguously indicated
             4     its intent to unilaterally (1) terminate the Amazon Contracts with the Debtors, even if the Debtors
             5     elect to proceed with a plan of reorganization rather than move forward with the sale of all or
             6     substantially all of the assets of the Debtor(s) (a “Sale”); (2) eliminate or reduce Debtors source
             7     of revenue by cutting the delivery routes that it pays the Debtors to service (the “Routes”); and
             8     (3) directly contact the Debtors’ employees in an effort to transfer them to competing delivery
             9     providers (presumably with whom they have more favorable contracts) or to their own logistics
           10      team. Moreover, Amazon has unequivocally acknowledged – to the Debtors, the Committee,
           11      and Hillair – that the primary reason it has elected to terminate the agreement (whether directly
           12      via the thirty (30) day termination right provided for in the most substantive of the Amazon
           13      Contracts or indirectly via significantly reducing or eliminating the Routes that it assigns to the
           14      Debtors on a moving forward basis) is because the Debtors are unwilling and/or unable to satisfy
           15      their pre-petition indemnity obligations despite the fact that the Debtors operational performance
           16      has continued to excel from Amazon’s perspective (and, in fact, the Debtors have never received
           17      higher scores from Amazon than they have in the past four (4) weeks). Moreover, absent the
           18      relief sought by and through this Motion, Amazon’s current and ongoing violations of the
           19      automatic stay, coupled with their unabashed admission that they intend to take actions perhaps
           20      even more violative of the automatic stay, will virtually guarantee that the Debtors will be unable
           21      to meet payroll obligations (thus necessitating the layoff of nearly 1,000 employees before the
           22      holiday season and potentially creating significant WARN act administrative liabilities for the
           23      estates) and destroy any chance that the Debtors have of rehabilitating, whether by way of a Sale
           24      or by way of a plan of reorganization, simply so that Amazon can effectively hijack the Debtors’
           25      business (which is currently comprised of only its employees and the Amazon Contracts for all
           26      intents and purposes) for their own commercial profit in exchange for the payment of a paltry
           27      nuisance fee to the Debtors, a notion that could not be more violative of the essence of the
           28      bankruptcy process. Amazon should not be permitted to single-handedly destroy the Debtors

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             1     chance at rehabilitation, particularly by and through egregious and flagrant violations of the
             2     automatic stay, for its own economic benefit. Accordingly, the Debtors respectfully request,
             3     pursuant to 11 U.S.C. 362 and 105(d) that Amazon be enjoined from terminating the Amazon
             4     Contracts and be ordered to restore to and maintain with the Debtors with the number of routes
             5     assigned to the Debtors prior to Amazon’s notification of its intent to terminate the Amazon
             6     Contracts in a manner that is consistent with historical business practices between Amazon and
             7     the Debtors while the Debtors work diligently towards a value-maximizing exit strategy. During
             8     this period, the Debtors will ensure that they continue to perform in the same manner as they
             9     have historically – the same performance that has earned them superior scores from Amazon.
           10                                           II.   JURISDICTION
           11             This Court has jurisdiction over this matter under 28 U.S.C. §§ 1334 and 157. The matter
           12      concerns the administration of the bankruptcy estate and is therefore a core proceeding under 28
           13      U.S.C. § 157(b)(2)(A) and (O). Venue is proper in this District under 28 U.S.C. §§ 1408 and
           14      1409. The adversary proceeding has been brought pursuant to Bankruptcy Rules 7001(7) and the
           15      Emergency Motion pursuant to Bankruptcy Rule 7065.
           16                                    III.     STATEMENT OF FACTS
           17             The Debtors are a logistics and delivery company that provides logistics and delivery
           18      services to Amazon, with operations in Southern California, Illinois and Texas. The Debtors
           19      provide “last-mile” delivery solutions, delivering goods by vehicle from merchant distribution
           20      points to consumers. These delivery solutions include same-day, next day, and two-day delivery
           21      to Amazon customers.
           22             The Debtors employ approximately 1000 employees, with a seasonal increase during the
           23      holidays.
           24             On April 30, 2019 (the “Petition Date”), the Debtors each filed a petition for relief under
           25      Chapter 11 of the Bankruptcy Code, commencing the Chapter 11 Cases. The Debtors continue
           26      in possession of their property and operate their businesses as a debtors-in-possession pursuant to
           27      Sections 1107(a) and 1108 of the Bankruptcy Code. On May 13, 2019, the Court entered an
           28      order approving the joint administration of the Debtors’ cases [Docket. No. 44]. On May 20,
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             1     2019, the Office of the United States Trustee appointed an Official Committee of Unsecured
             2     Creditors (the “Committee”) in the Chapter 11 Cases.
             3              On June 12, 2019, the Court entered an order appointing Brian Weiss of Force 10
             4     Partners LLC as the Debtors’ Chief Restructuring Officer (the “CRO”), after a restructuring of
             5     the Debtors’ board of directors. The Debtors evaluated and implemented strategies aimed
             6     towards preserving and strengthening the Debtors’ operations. The Debtors’ business is
             7     producing positive cash flow. Having stabilized their business, the Debtors embarked on a
             8     process to secure a value-maximizing path for the Debtors’ business to exit these Chapter 11
             9     Cases.
           10               The Debtors determined, in conjunction with their professionals and in consultation with
           11      the Committee, that pursuing a sale or reorganization under Chapter 11 of the Bankruptcy Code
           12      provided the best option for the Debtors, their customer base, and their creditor constituents. In
           13      connection with this, the Debtors employed Armory Securities, LLC (“Armory”) as their
           14      investment banker, to market the Debtors’ business for a sale or recapitalization.
           15               In order to maximize the value of their business and advance the resolution of the
           16      Chapter 11 Cases, the Debtors decided, in their business judgment, after extensive negotiations
           17      amongst the Debtors, Hillair and the Committee, to pursue a process pursuant to section 363 of
           18      the Bankruptcy Code for the sale (the “Sale”) of substantially all of the Debtors’ assets to Hillair
           19      as a stalking horse purchaser subject to higher and better offers, while preserving a right to seek a
           20      recapitalization if revealed as a better alternative during the marketing process. The Committee
           21      supported the Sale.
           22               On August 29, 2019, the Debtors filed a motion for approval for sale and bidding
           23      procedures in connection with the Sale process [Docket No. 293] (the “Bid Procedures Order”).
           24      The Court approved the procedures by an ordered entered on September 17, 2019 [Docket No.
           25      321]. On September 19, 2019, the Debtors filed their motion for approval of the Sale.
           26               Pursuant to the Bid Procedures Order, the deadline for oppositions to the Sale, or to
           27      assumption and assignment of contracts in connection with the Sale, was October 1, 2019. Only
           28      three oppositions were filed. Two were an opposition to the Sale filed by the former principals
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             1     of the Debtors, the Ohanessians, together with a joinder by two other shareholders. The third
             2     was an objection filed by Amazon to the assumption and assignment of the Amazon Contract in
             3     connection with the Sale [Docket No. 349] (the “Assignment Objection”). The Debtors timely
             4     filed their reply to the Assignment Objection [Docket No. 366] (the “Reply to Amazon
             5     Objection”). The hearing on the Sale was originally set for October 17, 2019, but has been
             6     continued to November 7, 2019.
             7            A.      The Amazon Contract and Scoobeez History of Work with Amazon
             8            Amazon is the Debtors’ only customer, and the entirety of Debtors’ revenue derives from
             9     payments from Amazon for deliveries from Amazon distribution points to Amazon’s customers.
           10      The Debtors’ contract with Amazon is made up of the Delivery Provider Terms of Service (the
           11      “Terms of Service”), which provides the overarching terms of the contract, and the Delivery
           12      Provider Terms of Service Work Order (as amended, the “Work Order”), which provides
           13      specific locations and pricing terms. The Work Order has been updated by amendment eighteen
           14      times, to update pricing and distribution points. The Terms specify that they are “a legally
           15      binding agreement between the applicable Amazon Contracting Party or any of its Affliates” and
           16      the Debtors. See Terms, p. 1.
           17             Pursuant to the Amazon Contract, Amazon pays Scoobeez based on weekly invoices,
           18      based on the rates in the current Work Order. See Terms, § 3.a, 4. Amazon generally pays all
           19      undisputed amounts within thirty (30) days of receipt of the invoice. Any substantial change in
           20      volume or work would therefore have a rapid and direct impact on revenue.
           21             As described above, the Work Order provides the distribution points that Scoobeez will
           22      pick up packages from. On a weekly basis, Amazon sends the Routes to Scoobeez. Payments
           23      under the Amazon Contract are based on the Routes served, with specific pricing per Route as
           24      provided in the Work Order.
           25             Amazon has provided a reliable work flow to Scoobeez over the years. Although there is
           26      some seasonal variability, and the Scoobeez model is designed to scale with that variability,
           27      Scoobeez has relied on a substantial number of Routes on a consistent basis, and employs more
           28
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             1     than 1,000 employees based on that work. Scoobeez has seen a consistent yearly volume, that
             2     has increased over time.
             3            Attached as Exhibit A to the Voskanian Declaration chart showing year-over-year total
             4     Routes under the Amazon Contract for the current eight-week period, and a comparison of the
             5     four months from June through October 2018 and 2019. This shows that overall Routes have
             6     been higher in 2019, whereas 2017 and 2018 showed the expected seasonal increase in Routes
             7     entering the fall, Routes have taken a sharp downturn in just the past two months. Moreover,
             8     since announcing its unequivocal and non-negotiable intention to terminate the Amazon
             9     Contracts, Amazon has begun to reduce the number of Routes assigned to the Debtors under the
           10      Amazon Contracts.
           11             B.      Amazon’s Decision to Terminate and Timeline for Violation of the Stay
           12             Amazon has now precipitously decided to terminate its contractual relationship with
           13      Scoobeez. This development has occurred suddenly and unexpectedly. Prior to the Debtors filing
           14      the Sale Motion, Amazon had not expressed any intention to cease or reduce business with
           15      Scoobeez. Rather, Amazon knowingly allowed the Debtors to proceed with a sale process that
           16      was based, at least in part, on an expectation of ongoing business with Amazon. Amazon finally
           17      raised an objection only when faced with a deadline to object to assumption of the Amazon
           18      Contracts. Amazon filed its Assignment Objection on October 1, 2019. Even in the Assignment
           19      Objection, Amazon did not indicate or acknowledge that it was categorically unwilling to do
           20      business with the Debtors going forward.
           21             Since the filing of the Assignment Objection, however, Amazon has made it clear that it
           22      intends to terminate its relationship with the Debtors, irrespective of which path the Debtors
           23      choose to take (i.e. a sale or a rehabilitation). This has been communicated both in conference
           24      calls in which Amazon, the Debtors, Hillair, and the Committee have participated, and in
           25      writing. On October 7, 2019, representatives of the Debtors and Hillair participated in a
           26      telephone call with Amazon’s representatives. During that call, Amazon’s representatives clearly
           27      and expressly stated that they did not intend to do business with Scoobeez beyond a brief
           28      transition period, and would begin reducing Routes assigned to Scoobeez. Amazon’s
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             1     representative also expressly stated that Amazon would not consent to do business with Hillair or
             2     any other buyer of the Scoobeez assets, again beyond a potential brief transition period.
             3            On the October 7, 2019 telephone call, Amazon made it clear that its decision was tied to
             4     what it viewed as pre-petition defaults by Scoobeez. Amazon’s representative cited, as the sole
             5     reason provided for its decision to terminate the relationship, that Amazon felt that Scoobeez had
             6     not adequately fulfilled its duties to defend and indemnify Amazon from third party claims –
             7     claims which arose prior to the Petition Date. Although the Debtors dispute this claim on a
             8     substantive basis, as discussed in their Reply to Amazon Objection, the essential point here is
             9     that Amazon expressly stated that its reason for terminating its relationship with Scoobeez was
           10      its belief that Scoobeez had defaulted pre-petition on indemnity obligations under the Amazon
           11      Contracts.
           12             On October 16, 2019, counsel for Amazon sent an email to counsel for Hillair, on which
           13      Debtors’ counsel was copied, expressly spelling out Amazon’s position. A true and copy of this
           14      email is appended as Exhibit C to the Declaration of Ashley McDow (the “McDow
           15      Declaration”), and incorporated herein by reference. Among other things, the email stated that:
           16      “Amazon will not continue to do business with Scoobeez, Hillair or a Hillair “Newco” for
           17      anything other than a transition period ending on January 6, 2020.” The email went on to stay a
           18      timeline on which Amazon intended to communicate its decision to drivers, and then terminate
           19      the Amazon Contract. While the email suggested a separate agreement, with a modest separation
           20      payment by Amazon, it specifically stated that Amazon would proceed on the same timeline
           21      regardless of any agreement with the Debtors or Hillair. Amazon also expressly stated that it
           22      would begin reducing Routes if a sale is approved, and did not provide any assurance that it
           23      would not otherwise reduce Routes under any circumstance.
           24             Further, and even more alarmingly, Amazon has expressly stated that it intends to poach
           25      the Debtors’ employees. The bullet points in the October 16 email outlining Amazon’s plan
           26      indicates that Amazon starting on October 25, 2019, Amazon personal will “provide drivers with
           27      information on how they can contact other Delivery Service Partners if they are interested in
           28      applying for employment with other companies. McDow Decl., Ex C. While this is set forth a
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             1     part of Amazon’s proposal for a separation agreement, Amazon is clear that this is its plan with
             2     or without the Debtors’ agreement:
             3                    Assuming that the sale is approved on Oct. 17 and that the
                                  transaction closes within a few days thereafter, Amazon will still
             4                    operate on the same timeline as laid out above in the 3rd bullet
                                  point regarding communication to drivers, hopefully with the
             5                    buyer’s cooperation to ensure consistent, timely communication to
                                  drivers at all stations. If Amazon does not have the buyer’s
             6                    cooperation, Amazon is still prepared to move forward on the
                                  same timeline as laid out above.
             7

             8     McDow Decl., Ex. C (emphasis added). Amazon could not be more explicit about its intent to
             9     contact the Debtors’ employees in order to recruit them to competitors, with or without the
           10      Debtors consent.
           11             Amazon’s decision cannot be characterized as the result of any concerns with
           12      performance. Scoobeez receives weekly scorecards from Amazon. These have remained very
           13      good throughout 2019, with no decrease in performance during the bankruptcy case. In fact, the
           14      most recent scorecards extremely high marks across the board. Copies of these most recent
           15      scorecards are attached as Exhibit B to the Declaration of Scott Sheikh. Further, on the October
           16      7 telephone call Amazon’s representatives specifically stated that Amazon’s decision what not
           17      based on any issues with Scoobeez’s performance.
           18                                        IV.    BASIS FOR RELIEF
           19             A.      The Amazon Agreement is Property of the Estate
           20             Property of the estate includes “all legal and equitable interests of the debtor in property
           21      as of the commencement of the case.” 11 U.S.C. §541(a)(1). The Legislative history of section
           22      541 states that the scope of the paragraph is broad “[i]t includes all kinds of property, including
           23      tangible or intangible property…” See In re Computer Communications, Inc., 824 F.2d 725,
           24      729 (9th Cir. 1987) citing H.R.Rep. No. 595 at 367. It is well established in the Ninth Circuit
           25      that the contract rights of a debtor are property of the estate under section 541.
           26             As of the Petition Date, Amazon had not terminated any of the Amazon Contracts that
           27      were in existence as of the Petition Date, nor had any of those contracts expired by their own
           28      terms and thus they are property of the Debtors’ estate.
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             1            B.      Amazon Has Already Violated The Automatic Stay And Must Be
             2                    Enjoined From Further Violating the Automatic Stay By Terminating
             3                    the Contract and/or Modifying Contract Terms Without Relief from
             4                    the Automatic Stay
             5            When a debtor files a bankruptcy petition, an automatic stay immediately arises. 11
             6     U.S.C. § 362(a). The automatic stay enjoins the “enforcement of any act to obtain possession of
             7     property of the estate or of property from the estate or to exercise control over property of the
             8     estate.” 11 U.S.C. §362(a)(3). “The scope of the stay is quite broad.” Hillis Motors, Inc. v.
             9     Hawaii Auto. Dealers' Ass'n, 997 F.2d 581, 585-86 (9th Cir. 1993) citing Stringer v. Huet (In re
           10      Stringer), 847 F.2d 549, 551 (9th Cir.1988). The automatic stay plays a vital and fundamental
           11      role in bankruptcy. See Midlantic Nat'l Bank v. New Jersey Dept. of Envtl. Protection, 474 U.S.
           12      494, 106 S.Ct. 755, 88 L.Ed.2d 859 (1986); Schwartz v. United States (In re Schwartz), 954 F.2d
           13      569, 571 (9th Cir.1992); In re Medicar Ambulance Co., 166 B.R. 918, 925 (Bankr. N.D.Cal.
           14      1994). Congress and the Ninth Circuit Court of Appeals have made it clear that a violation of
           15      the automatic stay is a “very serious matter.” In re Achterberg, 873 B.R. 819, 829 (Bankr. E.D.
           16      Ca. 2017).
           17             The automatic stay in combination with other provisions of the Bankruptcy Code
           18      provides debtors with a “breathing spell” from creditors so that it can focus its efforts on
           19      reorganization. See Computer Communications, at 729; In re Plumberex Specialty Prods., 311
           20      B.R. 511, 556 (Bankr. C.D. Cal. 2004). “It is designed to effect an immediate freeze of the
           21      status quo by precluding and nullifying post-petition actions, judicial or nonjudicial, in
           22      nonbankruptcy fora against the debtor or affecting the property of the estate.” Hillis Motors, 997
           23      F.2d at 585 citing Interstate Commerce Comm'n v. Holmes Transp., Inc., 931 F.2d 984, 987 (1st
           24      Cir.1991), vacated 983 F.2d 1122 (1st Cir.1993).
           25             Moreover, executory contracts, like the Amazon Contracts, are protected from
           26      termination by the automatic stay. In re Carroll, 903 F.2d 1266, 1271 (9th Cir. 1990) (an
           27      executory contract that is property of the estate can only be terminated after a grant of relief from
           28      stay). Unless an exception applies, the automatic stay prohibits any acts to terminate or modify
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             1     an estate’s interests in a contract. In re FirstEnergy Solutions Corp., 596 B.R. 631, 636 (Bankr.
             2     N.D. Ohio 2019); see also In re National Environmental Waste Corp., 191 B.R. 832, 834 (Bankr.
             3     C.D.Cal. 1996) (“since Ninth Circuit law holds that contract rights constitute property of the
             4     estate, the City’s unilateral termination of Newco’s contract is clearly an action exercising
             5     control over property of the estate”).
             6            Although Amazon may argue that the Amazon Contracts give it the right to terminate at
             7     will, the law is clear that this does not allow it to terminate without relief from the automatic
             8     stay. In In re Ernie Haire Ford, Inc., 403 B.R. 750 (Bankr. M.D. Fla. 2009), the bankruptcy
             9     court held that a non-debtor counterparty’s exercise of a terminable-at-will provision in a
           10      contract without stay relief was impermissible and ruled that the contract remained enforceable
           11      pending the debtor’s decision to assume or reject. See Ernie Haire Ford, Inc., 403 B.R. at 760-
           12      61. The court expressly found that “rights under the executory contracts are property of the
           13      bankruptcy estate, and therefore, exercising terminable-at-will provisions is not permitted
           14      without relief from stay.” Id. “[W]hile parties may otherwise be permitted to terminate an
           15      agreement under state contract law, in bankruptcy, such a termination would be in violation of
           16      the stay and the parties must seek permission to the court to act.” In re Elder-Beerman Stores,
           17      195 B.R. 1019, 1024 (Bankr. S.D. Ohio 1996) (finding that an attempt to terminate by an
           18      “essential line” vendor for a retail store debtor was in violation of the stay).
           19             Bankruptcy courts throughout the country have consistently found that termination of a
           20      contract with a debtor requires relief from the automatic stay. See Computer Communications,
           21      824 F.2d at 728 (affirming the bankruptcy court’s award of $4.75 million in actual damages and
           22      $250,000 in punitive damages for the violation of the automatic stay for unilaterally terminating
           23      a contract without first obtaining stay relief and noting that “[e]ven if [d]efendant had a valid
           24      reason for terminating the agreement, it was still required to petition the court for relief from stay
           25      under §362(d).”); see also Minoco Group of Cos., Ltd v. First State Underwriters Agency of New
           26      England Reins. Corp., 799 F.2d 517, 519 (9th Cir. 1986) (staying the unilateral right to cancel an
           27      insurance policy under section 362).
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             1            C.      The Stay Prohibits Functional Termination by Eliminating Routes,
             2                    Which Amazon Has Already Done Since Announcing Its Intention To
             3                    Terminate The Amazon Contracts And The Amazon Relationship
             4            Amazon has taken the position that it could simply eliminate Routes, without expressly
             5     terminating the Amazon Contract. This would be a functional termination that would be in
             6     violation of the automatic stay. See In re Ernie Haire Ford, Inc., 403 B.R. at 760.
             7            This was expressly addressed by the bankruptcy court in the In re Ernie Haire Ford case.
             8     The non-debtor party argued that because the contract provided complete discretion to accept or
             9     reject loans, they could simply use that discretion to refuse loan applications under the contract,
           10      even if they were not permitted to actually terminate the contract without relief from stay. See In
           11      re Ernie Haire Ford, Inc., 403 B.R. at 760. This is exactly what Amazon argues in suggesting
           12      that it can unilaterally eliminate Routes. The bankruptcy court found that any action that
           13      “effectively terminates” the agreement would be a violation of the automatic stay. Id.
           14             D.      Amazon’s Actions and Threatened Actions Violate the Stay
           15             While termination of the Amazon Agreement for any reason requires relief from stay,
           16      termination based on failure to pay pre-petition obligations is expressly forbidden by the
           17      stay. Amazon Logistics asserts certain pre-petition defaults under the Amazon Agreement. Any
           18      termination of the Amazon Agreement based on those purported defaults is a violation of the
           19      automatic stay under bankruptcy code section 362(a)(6). Section 362(a)(6) prohibits any act to
           20      collect, assess or recover a claim against the debtor that arose before the commencement of the
           21      case. 11 U.S.C. § 362(a)(6).
           22             While the Debtor believes that the Amazon Contract is subjection to assumption and
           23      assignment pursuant to Section 356, the automatic stay can be invoked regardless. Amazon has
           24      taken the position in the Amazon Objection that the Amazon Contract is not assumable.
           25      Although the Debtor strongly disagrees, as set forth in its Reply to the Amazon Objection,
           26      Amazon’s actions are in violation of the automatic stay regardless. “The Ninth Circuit has
           27      specifically held that even where a contract is not assumable, the automatic stay still prohibits the
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             1     acts enumerated in section 362(a).” In re Karsh Travel, Inc., 87 B.R. at 112, citing In re
             2     Computer Communications, Inc. 824 F.2d 725, 730 (9th Cir. 1987).
             3            E.      The Court Has Authority to Issue a Temporary Restraining Order
             4            Congress vested this Court with the power to "issue any order, process, or judgment that
             5     is necessary and appropriate to carry out the provisions of this title" to avoid the grave injustice
             6     sought by the Defendants. 11 U.S.C. § 105(a). The power under section 105(a) is
             7     "unambiguously broad," and it grants the court authority not only to enforce specific Bankruptcy
             8     Code provisions, but also to "protect the general purpose and intent of the Bankruptcy Code." In
             9     re Whitaker, 341 B.R. 336, 346-47 (S.D. Ga. 2006); In re Family Health Servs., 105 B.R. 937,
           10      943 (C.D. Cal. 1989).
           11             In determining whether to grant a temporary restraining order or preliminary injunction
           12      under section 105(a) in accordance with Bankruptcy Rule 7065, courts consider the following
           13      factors: (1) irreparable harm, (2) probable success on the merits, (3) a balance of hardships that
           14      tips in the movant's favor, and (4) that a preliminary injunction is in the public interest.2 In re
           15      Family Health Servs., Inc., 105 B.R. at 943 (citing F.T.C. v. Evans Prods. Co., 775 F.2d 1084,
           16      1088-89 (9th Cir. 1985)). Thus, a party is entitled to a preliminary injunction if it can show
           17      “either a likelihood of success on the merits and the possibility of irreparable injury, or that
           18      serious questions going to the merits were raised and the balance of hardships tips sharply in its
           19      favor.” Rubin v. Pringle, 387 F.3d 1077, 1086 (9th Cir. 2004). “These two alternatives represent
           20      extremes of a single continuum, rather than two separate tests.” Id. In evaluating a request for
           21      the issuance of a temporary restraining order, courts apply the same standards applicable for the
           22      issuance of a preliminary injunction. See Simon & Schuster, Inc. v. Advanced Marketing
           23      Services, Inc., 360 B.R. 421, 426 (Bankr. D. Del. 2007) (quoting Tootsie Roll Industries, Inc. v.
           24      Sathers, Inc., 666 F. Supp. 655, 658 (D. Del. 1987)).
           25

           26

           27             2
                           As the Debtor is seeking issuance of an injunction, no bond is required. See Bankruptcy
                   Rule 7065.
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             1                    1.      The Debtors Will Suffer Irreparable Harm if Amazon Continues to
             2                            Unilaterally Act
             3            That Amazon’s threatened actions will result in both catastrophic and irreparable harm is
             4     self-evident. In general, injury resulting from violation of the automatic stay is irreparable. See
             5     United States Lines, Inc. v. GAC Marine Fuels Ltd. (In re McLean Indus., Inc.), 68 B.R. 690, 694
             6     (Bankr. S.D.N.Y. 1986) (issuing preliminary injunction ordering defendant to release seized
             7     vessels of the debtor). In addition, as a business, the possibility of going out of business
             8     naturally constitutes irreparable harm. See John B. Hull, Inc. v. Waterbury Petroleum, 588 F.2d
             9     24 (2d Cir.1978), cert. denied, 440 U.S. 960 (1979).
           10             The harm here is clear and undeniable. Amazon has stated that it intends to (1) reduce
           11      Routes to zero over a period of some two months at most, (2) contact the Debtors’ employees to
           12      move them to competitors, and (3) terminate the Amazon Contract altogether. Amazon is the
           13      Debtors’ sole customer, and the Debtors rely entirely on revenue from the Amazon Contract to
           14      provide cash flow and continue to operate. Because charges under the Amazon Contract are
           15      invoiced weekly and paid within thirty days, the effects of Amazon substantially cutting routes,
           16      and/or unilaterally terminating the contract altogether, would be felt almost immediate in
           17      revenue.
           18             The Debtors employee approximately 1,000 people, whom it would be almost
           19      immediately unable to pay without the revenue from the Amazon Contract. If Amazon acts as it
           20      has threatened and unilaterally stops sending Routes to the Debtors, then the Debtors will be
           21      forced to either lay off employees or stop providing them work. In addition to the obvious
           22      human costs, this carries at a minimum a significant risk of WARN act claims.3
           23             The inevitable and almost immediate result of Amazon moving forward on its intended,
           24      unilateral course is that the Debtors will no longer be able to operate in a matter of weeks, and
           25

           26
                          3
                             The Debtors would have defenses, and are not hereby acknowledging or suggesting that
           27      the WARN act would apply or that claims would be meritorious, but simply stating that the risk
                   of significant claims being asserted is certainly there.
           28
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             1     will lose any ability to develop an exit that maximizes value to creditors, whether through the
             2     pending Sale in current or modified form, or through any other sale or reorganization.
             3                    2.      Probability of Success on the Merits
             4            The probability of success on the merits is high, because Amazon’s actions amount to
             5     clear violations of the automatic stay. At the same time, the standard for issuance of a TRO and
             6     then Preliminary Injunction does not require the Debtor prove its case for violation of the stay at
             7     this time. All that is required is either “a likelihood of success on the merits,” or even that
             8     “serious questions going to the merits were raised” as long as the balance of hardships tips in the
             9     Debtors favor. Rubin v. Pringle, 387 F.3d at 1086.
           10             The merits go to whether Amazon’s actions or stated intent amounts to a violation of the
           11      automatic stay. As set forth above, any action by Amazon to terminate the agreement, or to
           12      functionally terminate the agreement by reducing Routes, would violate the stay.
           13             Amazon’s actions give rise to a right to injunctive relief. Refusing to do business with
           14      the Debtor based on a pre-petition debt or default is a violation of the stay. “It is a clear violation
           15      of the automatic stay to refuse to do business with a debtor unless prepetition debt is payed
           16      [sic].” In re Karsh Travel, Inc., 87 B.R. 110, 112 (N.D. Cal. 1988) [internal citations omitted]
           17      (overturned on other grounds). In the Karsh Travel case, the Northern District Bankruptcy
           18      Court issued a preliminary injunction on facts that are very similar to the present situation,
           19      prohibiting a large creditor from refusing to honor the terms of their agreement with the Debtor.
           20      Id. The Court held that allowing the creditor to refuse to honor the terms of their agreement with
           21      the Debtor would be “clearly contrary to congressional intent to place the reorganization of all
           22      business except financial institutions in the hands of the bankruptcy courts. Id. at 111. The
           23      Court also emphasized that its powers under Section 105(a) could and should be used when
           24      necessary to avoid surrendering control of the reorganization to a powerful creditor. “Although
           25      the Court is reluctant to exercise its powers under section 105(a) of the Code except in
           26      compelling circumstances, and is mindful that those powers may not be exercised in such a
           27      manner as to conflict with the express language of the Code, the Court would have no hesitancy
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             1     in invoking those powers if it became necessary in order to avoid surrendering control of travel
             2     agency reorganizations to [the creditor].” Id.
             3            The actions that Amazon appears to be taking by beginning to reduce routes, and those
             4     that Amazon has stated that it will take, amount to unambiguous violations of the automatic stay.
             5     Amazon expressly stated that its decision to terminate its relationship with the Debtors is based
             6     on is assertion of pre-petition defaults with regard to indemnity and defense obligations. See In
             7     re Karsh Travel, Inc., 87 B.R. at 112 (it is a clear violation of the stay to refuse to do business
             8     based on a pre-petition default). Amazon has also indicated that it will cease to honor the terms
             9     of its agreement, and the established pattern of business built over years.
           10             In addition, Amazon has stated that it intends poach the Debtors employees, beginning as
           11      soon as October 25, by directing them to competing businesses. A creditor seeking to take
           12      employees is an absolute violation of the stay.
           13             Where Amazon has expressly stated its intent to violate the automatic stay, the Debtors
           14      are entitled to declaratory and injunctive relief. At a minimum, the Debtors have demonstrated a
           15      sufficient likelihood of success on the merits for issuance of preliminary injunction relief in order
           16      to preserve the status quo. See In re Roach, 660 F.2d 1316, 1318 (9th Cir. 1981) (Granting the
           17      Debtor a "breathing spell" serves the purpose of the stay and of the Bankruptcy Code).
           18                     3.      The Balance of Hardships Tips Dramatically in the Debtors’ Favor
           19             As part of exercising its equitable powers regarding preliminary injunctive relief, the
           20      court is directed to evaluate the balance of hardships. In re Family Health Servs., Inc., 105 B.R.
           21      at 943. The balance of hardships here is tilted virtually as as far as possible in the Debtors’
           22      favor. On the one hand, as set forth above, the Debtors’ ability to keep their doors open and
           23      employees employed is at stake for the Debtors. This is an existential issue for the Debtors.
           24             On the other side of the balance, it is not clear that there is any hardship at all. The single
           25      reason Amazon has provided for wanting to terminate its relationship with the Debtors is related
           26      to an alleged pre-petition default on indemnity obligations. Amazon has acknowledged that
           27      there are no performance issues, and in fact the record is that the Debtors performance has been
           28      exemplary. As the holiday season approaches, Amazon cannot credibly suggest that there is
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             1     some hardship in continuing, during the term of a preliminary injunction, to provide Routes
             2     consistent with past practice.
             3                    4.       A Preliminary Injunction is in the Public Interest
             4            Courts generally find that injunctions that facilitate reorganizations serve the public
             5     interest. In re FiberTower Netword Servs. Corp., 482 B.R. 169, 189 (Bankr. N.D. Tex. 2012).
             6     “Chapter 11 expresses the public interest of preserving going-concern values of businesses,
             7     protecting jobs, ensuring the equal treatment of any payment of creditors, and if possible, saving
             8     something for the equity holders. Id. Where a debtor’s chance for successful reorganization is
             9     jeopardized without the requested injunctive relief, such relief serves the public interest. Id. at
           10      190. In re Family Health Servs., Inc., 105 B.R. at 945 (In the bankruptcy setting the public
           11      interest lies in promoting successful reorganization). Thus, granting the Debtor a "breathing
           12      spell" serves the purpose of the stay and of the Bankruptcy Code. In re Roach, 660 F.2d 1316,
           13      1318 (9th Cir. 1981).
           14             This factor clearly supports issuance of a temporary restraining order and a preliminary
           15      injunction to preserve the status quo. Amazon’s sudden change of course without warning
           16      threatens to upend any possibility of reorganization, or constructive sale process, at the expense
           17      of the Debtors other creditors. The issuance of a temporary injunction will merely protects estate
           18      property and the Debtors ability to move forward with a process that it reasonably determines to
           19      be in the best interests of creditors, instead of turning complete control of this case over to
           20      Amazon. See In re FiberTower Netword Servs. Corp., 482 B.R. at 189.
           21             The Debtors also employ approximately 1,000 people. The ability to continue to pay
           22      these employees relies on continued Routes under the Amazon Contract. There is a clear and
           23      strong public interest in preventing Amazon’s unilateral and callous actions from destroying the
           24      Debtors’ ability to pay these employees in the immediate term.
           25             F.      The Factors to be Considered Under Section 105 Also Strongly
           26                     Support Injunctive Relief
           27             Although there is no “uniform standard for the merits of a claim for temporary injunctive
           28      relief under Section 105(a) in the Chapter 11 context” courts have identified certain relevant
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             1     factors. In re Casner, 302 B.R. 695, 703-704 (E.D. Cal. 2003). These include: “1. Will the
             2     threatened actions interfere with, deplete or adversely affect property of the bankruptcy estate? 2.
             3     Will the threatened actions frustrate the statutory bankruptcy scheme? 3. Will the threatened
             4     actions interfere with the bankruptcy rehabilitative process? 4. If one or more of the foregoing
             5     effects is/are present, is the requested stay reasonable as to scope and duration? 5. If one or more
             6     of the foregoing effects is/are present, are appropriate means available to protect the non-debtor
             7     party’s interests?” Id.
             8            As to the first factor, it is well established for all the reasons set forth above that
             9     Amazon’s actions have already begun to destroy any chance the Debtors have to rehabilitate
           10      (whether by and through the Sale or through a plan) and the actions they have made clear that
           11      they intend to take will completely destroy those chances.
           12             As to the second factor, Amazon’s planned actions would not only frustrate the statutory
           13      bankruptcy scheme, but would turn the bankruptcy scheme on its head, by enabling a general
           14      unsecured creditor with a contingent, unliquidated, disputed claim based upon a pre-petition
           15      indemnity claim to single-handedly deprive the estates of any potential value for their own
           16      economic benefit.
           17             As to the third factor, Amazon’s actions would not only interfere with the bankruptcy
           18      rehabilitative process, but would make the prospect of rehabilitation an unequivocal
           19      impossibility.
           20             As to the fourth factor, the Debtors merely ask for perseveration of the status quo for six
           21      (6) monthsin order to determine whether reorganization through a transition to other customers is
           22      feasible and carry out that reorganization, or conduct an orderly liquidation over a sufficient time
           23      to preserve value and work with employees. Given that Amazon’s proposed actions would
           24      violate the stay, however, it would be appropriate to enjoin them pending a determination by the
           25      Debtors and a ruling by the court on assumption or rejection of the Amazon Contract.
           26             As to the fifth factor, the Debtors submit that Amazon’s interests are not harmed by
           27      injunctive relief barring a violation of the stay. Amazon has no legitimate interest in violating
           28      the stay. In additional, as a practical matter, Amazon’s interests are not harmed by limited relief
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             1     requiring it to continue to provide the same level of seasonally adjusted Routes that it has been
             2     providing, given the continued excellent performance of the Debtors.
             3

             4                                         V.      CONCLUSION
             5            For all the reasons set forth above, the Debtors respectfully request that the Court (1)
             6     enter a temporary restraining order on the terms set forth herein; (2) schedule a hearing on entry
             7     of a preliminary injunction; and (3) enter a preliminary injunction to preserve the status quo by
             8     requiring Amazon to maintain the current level of Routes, seasonally adjusted, pending the entry
             9     of an order for assumption or rejection of the Amazon Contract.
           10
                   DATED: October 25, 2019                      FOLEY & LARDNER LLP
           11

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           14                                                   Ashley M. McDow

           15                                                   Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
                                                                GLOBAL, INC., and SCOOBUR, LLC
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    1                                       DECLARATION OF BRIAN WEISS
    2   I, Brian Weiss, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am a partner and co-founder at Force Ten Partners, LLC (“Force 10”), which has its
    6   principal place office at 20341 SW Birch Street, Newport Beach, CA 92660. I am the Debtors’ Chief
    7   Restructuring Officer (“CRO”). I am authorized to make the declaration on behalf of the Debtors.
    8              3.   I am familiar with the history, organization, operations and financial condition of the
    9   Debtors. All facts in this Declaration are based on my personal knowledge, information gathered from
  10    my review of relevant documents, and information supplied to me by the Debtors or their professionals.
  11               4.   I make this declaration in support of the Debtor’s Notice of Motion and Motion for
  12    Temporary Restraining Order and Preliminary Injunction (the “Motion”) to which this declaration is
  13    annexed.1
  14               5.   The Debtors are a logistics and delivery company that provides logistics and delivery
  15    services to Amazon, with operations in Southern California, Illinois and Texas.
  16               6.   The Debtors provide “last-mile” delivery solutions, delivering goods by vehicle from
  17    merchant distribution points to consumers. These delivery solutions include same-day, next day, and
  18    two-day delivery to Amazon customers.
  19               7.   The Debtors employ approximately 1000 employees, with a seasonal increase during the
  20    holidays.
  21               8.   Amazon is the Debtors’ only customer. Substantially all of the Debtors’ revenue derives
  22    from payments from Amazon for deliveries from Amazon distribution points to Amazon’s customers.
  23               9.   Amazon has now precipitously decided to terminate its contractual relationship with
  24    Scoobeez. This development has occurred suddenly and unexpectedly. Prior to the Debtors filing the
  25    Sale Motion, Amazon had not expressed any intention to cease or reduce business with Scoobeez.
  26

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  28    1
          All capitalized terms used herein shall have the same meaning ascribed in the Motion, unless otherwise
        stated.
                                                                       DECLARATION OF B. WEISS ISO MOTION FOR TRO
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    1   Rather, Amazon knowingly allowed the Debtors to proceed with a sale process that was based, at least
    2   in part, on an expectation of ongoing business with Amazon.
    3              10.    On October 7, 2019, representatives of the Debtors and Hillair participated in a telephone
    4   call with Amazon’s representatives. I was a participant on the call. During the call, Amazon’s
    5   representatives clearly and expressly stated that they did not intend to do business with Scoobeez
    6   beyond a brief transition period, and would not commit to not reducing Routes assigned to Scoobeez.
    7   Amazon’s representative also expressly stated that Amazon would not consent to do business with
    8   Hillair or any other buyer of the Scoobeez assets, again beyond a potential brief transition period.
    9              11.    On the October 7, 2019, telephone call, Amazon made it clear that its decision was tied to
  10    what it viewed as pre-petition defaults by Scoobeez. Amazon’s representative, Micah McCabe, cited, as
  11    the sole reason provided for Amazon’s decision to terminate the relationship, that Amazon felt that
  12    Scoobeez had not adequately fulfilled its duties to defend and indemnify Amazon from prepetition third
  13    party claims.
  14               I declare under penalty of perjury under the laws of the United States of America that the foregoing
  15    is true and correct to the best of my knowledge, information and belief.
  16               Executed this 24th day of October, 2019.
  17

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  19                                                              BRIAN WEISS
                                                                  Chief Restructuring Officer for the Debtors
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                                                                           DECLARATION OF B. WEISS ISO MOTION FOR TRO
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    1                                  DECLARATION OF GEORGE VOSKANIAN
    2   I, George Voskanian, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am the Chief Financial Officer and Co-Chief Executive Officer for the Debtors, and, in
    6   those capacities, among other, maintain books, records, files and documents relating to the Debtors. As
    7   such, I am generally responsible for managing the operations of the Debtors and, thus,am familiar with
    8   the Debtors’ operations, assets, and liabilities. In the ordinary course of business, I rely on the
    9   maintenance of true and correct copies of various documents relating to the Debtors. I have personally
  10    worked on books, records, files and documents, and as to the following facts, I know them to be true of
  11    my own knowledge or I have gained knowledge of them from my business records, which were made at
  12    or about the time of the events recorded, and which are maintained in the ordinary course of the
  13    Debtors’ business at or near the time of the acts, conditions or events to which they related.
  14               3.   I make this declaration in support of the Debtor’s Notice of Motion and Motion for
  15    Temporary Restraining Order and Preliminary Injunction (the “Motion”) to which this declaration is
  16    annexed.2
  17               4.   Amazon has provided a reliable work flow to Scoobeez over the years. Although there is
  18    some seasonal variability, and Scoobeez model is designed to scale with that variability, Scoobeez has
  19    relied on a substantial value of Routes on a consistent basis, and employees more than 1,000 employees
  20    based on that work. Scoobeez has seen a consistent yearly volume, that has increased over time.
  21               5.   Attached hereto as Exhibit A is a true and accurate chart showing year-over-year total
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  22    Routes under the Amazon Contract for the current eight-week period, and a comparison of the four
  23    months from June through October 2018 and 2019.3 This shows that overall Routes have been higher in
  24    2019, but whereas 2017 and 2018 showed the expected seasonal increase in Routes entering the fall,
  25    Routes have taken a sharp downturn in just the past two months. In other words, Amazon is already
  26    cutting back Scoobeez’s work under the Amazon Contract.
  27
        2
  28      All capitalized terms used herein shall have the same meaning ascribed in the Motion, unless otherwise
        stated.
        3
          The October numbers have been normalized to reflect the current partial month.
                                                                      DECLARATION OF A. MCDOW ISO MOTION FOR TRO
                                                          -1-
4829-0319-3514.1
    1              6.     Historically, Amazon has consistently provided information to Scoobeez as to Routes as
    2   follows. Amazon provides monthly projected routes through its online portal for delivery service
    3   providers, on a rolling basis. On a weekly basis, Amazon has confirmed Routes for the coming weeks.
    4   During the past month, Amazon has ceased to provide consistent advance notice of Routes. Instead, on a
    5   given day, Routes for each distribution point have varied substantially from those communicated to
    6   Scoobeez in rolling monthly or weekly estimates. This results in either Scoobeez having to pay drivers
    7   who are not needed, if the Routes are less than previously communicated, or potentially having to pay
    8   Amazon fees for not being able to deliver all Routes, if the Routes on a given day are more than
    9   previously communicated. This is a change from the long course of conduct prior to the past month.
  10               7.     The inconsistencies in route counts and anxiety created among rank and file employees
  11    has caused several key employees to depart. Some employees have raised the issue that Amazon
  12    employees are directly saying that Scoobeez is on its way out, therefore, routes will be shaved off
  13    overtime. This creates a challenging environment to maintain a quality workforce and keep it engaged.
  14    With this said however, Scoobeez has delivered outstanding results for Amazon doing everything
  15    possible to incentivize and motivate drivers and local leaders.
  16               I declare under penalty of perjury under the laws of the United States of America that the foregoing
  17    is true and correct to the best of my knowledge, information and belief.
  18               Executed this 24th day of October, 2019.
  19

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  21                                                              GEORGE VOSKANIAN
                          Main Document   Page 25 of 47      Co-CEO and Chief
    Case 2:19-ap-01456-WB Doc 2 Filed 10/25/19 Entered 10/25/19 16:14:54 Desc
                                                                              Financial Officer
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                                                                        DECLARATION OF A. MCDOW ISO MOTION FOR TRO
                                                            -2-
4829-0319-3514.1
    1                                      DECLARATION OF SCOTT SHEIKH
    2   I, Scott Sheikh, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am the General Counsel and Co-Chief Executive Officer for the Debtors, and, in those
    6   capacities, among other, maintain books, records, files and documents relating to the Debtors. As such, I
    7   am familiar with the Debtors’ operations, assets, and liabilities. In the ordinary course of business, I rely
    8   on the maintenance of true and correct copies of various documents relating to the Debtors. I have
    9   personally worked on books, records, files and documents, and as to the following facts, I know them to
  10    be true of my own knowledge or I have gained knowledge of them from my business records, which
  11    were made at or about the time of the events recorded, and which are maintained in the ordinary course
  12    of the Debtors’ business at or near the time of the acts, conditions or events to which they related.
  13               3.   I make this declaration in support of the Debtor’s Notice of Motion and Motion for
  14    Temporary Restraining Order and Preliminary Injunction (the “Motion”) to which this declaration is
  15    annexed.4
  16               4.   On October 7, 2019, representatives of the Debtors participated in a telephone call with
  17    Amazon’s representatives. I was a participant on the call. During the call, Amazon’s representatives
  18    clearly and expressly stated that they did not intend to do business with Scoobeez beyond a brief
  19    transition period, and would begin reducing Routes assigned to Scoobeez. Amazon’s representative also
  20    expressly stated that Amazon would not consent to do business with Hillair or any other buyer of the
  21    Scoobeez assets, again beyond a potential brief transition period.
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  22               5.   On the October 7, 2019, telephone call, Amazon made it clear that its decision was tied to
  23    what it viewed as pre-petition defaults by Scoobeez. Amazon’s representative cited, as the sole reason
  24    provided for its decision to terminate the relationship, that Amazon felt that Scoobeez had not
  25    adequately fulfilled its duties to defend and indemnify Amazon from third party claims.
  26

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  28    4
          All capitalized terms used herein shall have the same meaning ascribed in the Motion, unless otherwise
        stated.
                                                                      DECLARATION OF A. MCDOW ISO MOTION FOR TRO
                                                          -1-
4829-0319-3514.1
    1              6.     During the call, Amazon made no mention that the decision to cease or reduce Routes to
    2   the Debtors was the result of any concerns with performance.
    3              7.     Scoobeez receives weekly scorecards from Amazon. These have remained very good
    4   throughout 2019, with no decrease in performance in recent weeks. The most recent scorecards
    5   extremely high marks across the board.
    6              8.     True and accurate copies of the most recent scorecards are attached hereto as
    7   Exhibit B.5
    8              I declare under penalty of perjury under the laws of the United States of America that the foregoing
    9   is true and correct to the best of my knowledge, information and belief.
  10               Executed this 24th day of October, 2019.
  11

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  13                                                              SCOTT SHEIKH
                                                                  Co-CEO and General Counsel
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                              Main Document   Page 27 of 47
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  28      The names of employees and specific metrics have been redacted to protect confidential employee
        information and any information regarding the specific metrics used that Amazon might regard as
        proprietary.
                                                                        DECLARATION OF A. MCDOW ISO MOTION FOR TRO
                                                            -2-
4829-0319-3514.1
         Case 2:19-ap-01456-WB            Doc 2 Filed 10/25/19 Entered 10/25/19 16:14:54                Desc
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    1                                       DECLARATION OF ASHLEY McDOW
    2   I, Ashley McDow, hereby declare as follows:
    3              1.     I am an attorney duly authorized to practice before the above-referenced court. I am a
    4   partner with the law firm of Foley & Lardner LLP, proposed general insolvency counsel for Scoobeez;
    5   Scoobeez Global, Inc.; and Scoobur, LLC (collectively, the “Debtors”), the debtors and debtors in
    6   possession in the above-captioned, jointly administered bankruptcy cases.
    7              2.     Unless otherwise stated, I have personal knowledge of the matters set forth herein, and if
    8   called as a witness, could and would competently testify to the same.
    9              3.     I make this declaration in support of the Debtor’s Notice of Motion and Motion for
  10    Temporary Restraining Order and Preliminary Injunction (the “Motion”) to which this declaration is
  11    annexed. 6
  12               4.     Attached hereto as Exhibit C is a true and accurate copy of an email that I received on
  13    October 16, 2019, from counsel for Amazon.
  14               I declare under penalty of perjury under the laws of the United States of America that the foregoing
  15    is true and correct to the best of my knowledge, information and belief.
  16               Executed this 24th day of October, 2019.
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  19                                                              ASHLEY McDOW

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  28    6
          The specifics metrics have been redacted to protect any information regarding the specific metrics used
        that Amazon might regard as proprietary.
                                                                        DECLARATION OF A. MCDOW ISO MOTION FOR TRO
                                                            -1-
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Case 2:19-ap-01456-WB
                        Main Document
                                         EXHIBIT A
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                                               Scoobeez Total Route Comparison
2,900


2,700


2,500                                                                                                      2,415
                                                                                                                             2,462
        2,238                                 2,268
                        2,221                                    2,258             2,395                                                      2,333
2,300


2,100
                                                                  2,130                                     2,156       2,169                 2,029
                2,067                            2,139                                  2,127
                                  2,087
1,900


1,700
         8.25 - 8.31       9.01 - 9.07     9.08 - 9.14       9.15 - 9.21           9.22 - 9.28      9.29 - 10.05    10.06 - 10.12    10.13 - 10.19

                                                    Total 2017            Total 2018        Total 2019




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                                   Scoobeez Total Route Comparison
14,000
                                 12,004
             10,687                                                                         10,693
12,000                                                              12,077


10,000                                                                                                    10,232
                                                                                                          9,726


 8,000                                                                                  9,263
                                                                  9,030
                  8,071                   8,759

 6,000


 4,000


 2,000


    -
               June                  July                      August              September         October

                                                  Total 2018        Total 2019


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                                         EXHIBIT B
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From:            Esterkin, Richard W.
To:              Friedman, Adam H.
Cc:              McDow, Ashley M.; anapolitano@buchalter.com; Simon, John A.
Subject:         Scoobeez
Date:            Wednesday, October 16, 2019 7:53:29 AM


** EXTERNAL EMAIL MESSAGE **
Adam:

I am writing to ensure that there is no misunderstanding regarding Amazon’s position in relation to
the sale of the Scoobeez assets to Hillair, or its nominee. We respect that this has come as a surprise
to your client, but our goal is to ensure a smooth transition for all parties and want to make sure we
are focused on the next steps to ensure that occurs.
        •        Amazon will not continue to do business with Scoobeez, Hillair or a Hillair “Newco”
        for anything other than a transition period ending on January 6, 2020.
        •        Amazon currently has offered $1,100,000 in order to assure a smooth transition of
        the Scoobeez routes to other DSPs, to mitigate the impact to Scoobeez/Hillair, and to afford
        the employees of Scoobeez notice and an opportunity to apply for employment with
        another DSP.
        •        Assuming that you accept the $1,100,000 offer and sign the separation agreement,
        we would like to propose the following next steps:
                 o       Scoobeez/Hillair identifies and shares a list of the managers at each Amazon
                 Delivery Station at which it currently operates and who will serve as a partner with
                 Amazon Station Personnel to communicate to drivers. We expect that the decision
                 to terminate the agreement will stay confidential until October 24.
                 o       October 24th: Scoobeez/Hillair communicates the decision to these
                 managers (and only these managers) that Amazon is terminating the agreement
                 effective January 6, 2020.
                 o       October 25th: In partnership with Amazon, each appointed Scoobeez/Hillair
                 manager delivers the message to drivers that the agreement has been terminated
                 effective January 6th. Amazon Station personnel will be present at this meeting to
                 support/answer questions and provide drivers with information on how they can
                 contact other Delivery Service Partners if they are interested in applying for
                 employment with other companies.
                                   Amazon has a recommended script to use for this communication if
                         you would like help on crafting the communication to drivers.
                 o       October 25th, or as soon as reasonably possible, where required, Scoobeez
                 provides WARN notices to its drivers.
                 o       January 6th, 2020: Last day of routes in all Amazon Delivery Stations
        •        Amazon’s $1,100,000 offer is its best and final offer. There is no flexibility on the
        payment amount.
        •        If we do not have a signed separation agreement in place prior to the Court
        approving a sale of the Scoobeez assets, the $1,100,000 offer will be withdrawn. In order to
        allow us more time to arrive at a signed separation agreement, Amazon would support a
        continuance of the Oct. 17, 2019 hearing.
        •        In the event that a sale including an assumption and assignment of the
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        Amazon/Scoobeez contract is approved by the Court over Amazon’s objection, whether or
        not the sale closes, Amazon will begin reducing Scoobeez’s routes. If the sale does in fact
        close without a separation agreement, then upon the closing, Amazon will immediately
        exercise its right to terminate the Amazon/Scoobeez contract. Assuming that the sale is
        approved on Oct. 17 and that the transaction closes within a few days thereafter, Amazon
        will still operate on the same timeline as laid out above in the 3rd bullet point regarding
        communication to drivers, hopefully with the buyer’s cooperation to ensure consistent,
        timely communication to drivers at all stations. If Amazon does not have the buyer’s
        cooperation, Amazon is still prepared to move forward on the same timeline as laid out
        above.

We look forward to arriving at an agreement with Hillair that benefits all parties, as well as the
employees of Scoobeez.

Thank you.

Richard W. Esterkin
Morgan, Lewis & Bockius LLP
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